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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                           :
                                                   :
v.                                                 :           CRIMINAL NO. 3:15-cr-00319 RS

                                                   :
SHAUN W. BRIDGES                                   :
                                                   :
                                               ...oOo...


                                      (PROPOSED) ORDER

       This matter is before the Court on the Motion of Steven H. Levin for motion for the release

of Shaun W. Bridges’ passport. It is this _____ day of September, 2015,

       ORDERED that the Motion should be and hereby is GRANTED. Accordingly, the

Pretrial Services Office for the United States District Court for the Northern District of California

will maintain custody of Mr. Bridges’ passport and release his passport to Mr. Bridges or his legal

representative only at such time that Mr. Bridges is in the custody of the Bureau of Prisons, in the

event Mr. Bridges is sentenced to a term of imprisonment.

       SO ORDERED.




                                                               __________________________
                                                               Judge Richard G. Seeborg
                                                               United States District Judge
                                                               Northern District of California
